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                             UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
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12                                                   Case No. 2:20-CV-09555-RGK (Ex)
      A.B., C.D., E.F., G.H., I.J., K.L., and M.N.
13
      on behalf of themselves and all others
14    similarly situated,                            FINAL APPROVAL ORDER
                                                     AND JUDGMENT
15
             Plaintiffs,
16    v.
17
      THE REGENTS OF THE UNIVERSITY OF
18
      CALIFORNIA and JAMES MASON
19    HEAPS, M.D.,
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             Defendants.
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                           FINAL APPROVAL ORDER AND JUDGMENT
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1           The parties have entered into a Settlement Agreement (“Settlement”) to resolve
2     this litigation, subject to the approval of this Court under Federal Rule of Civil
3     Procedure 23(e). This matter came before the Court on Plaintiffs’ motion for final
4     settlement approval on July 12, 2021. At that time, the Court granted the motion to
5     approve the Settlement and appoint the Hon. Irma Gonzalez (ret.) as Special Master.
6     Dkt. 51. The Court now enters this final judgment, effective as of July 13, 2021.
7           The Court, after carefully considering the motion and the Settlement together
8     with all exhibits and attachments thereto, the record in this matter, and the briefs and
9     arguments of counsel, and good cause appearing, has determined: (a) the Settlement is
10    fair, reasonable, and adequate and should be finally approved; (b) the Settlement Class
11    will be certified pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of Civil
12    Procedure; (c) the Notice to the Class was directed in a reasonable and sufficient
13    manner; (d) jurisdiction is reserved and continued with respect to Plaintiffs’ motion for
14    attorneys’ fees, reimbursement of litigation expenses, and service awards;
15    (e) jurisdiction is reserved and continued with respect to implementation and
16    enforcement of the terms of the Settlement; (f) Plaintiffs are appointed Class
17    Representatives; (g) the law firms of Girard Sharp LLP, Gibbs Law Group LLP, and
18    Erickson Kramer Osborne LLP are appointed as Class Counsel; and (h) Hon. Irma E.
19    Gonzalez (ret.) is appointed as Special Master.
20          IT IS HEREBY ORDERED as follows:
21          1.    The Court has jurisdiction over this litigation, Plaintiffs, Defendants, and
22    Settlement Class Members, and any party to any agreement that is part of or related to
23    the Settlement. Venue is proper in this Court.
24          2.    All capitalized terms shall have the same meaning ascribed to them in the
25    Settlement Agreement.
26          3.    Pursuant to Rule 23(e), the Court hereby finds the Settlement is, in all
27    respects, fair, reasonable, and adequate and in the best interests of the Settlement Class.
28                 a.    Rule 23(e)(2)(A) is satisfied because the Plaintiffs and Class Counsel

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1     have vigorously represented the Class.
2                  b.    Rule 23(e)(2)(B) is satisfied because the Settlement was negotiated at
3     arm’s length by informed counsel acting in the best interests of their respective clients,
4     under the close supervision of an experienced mediator.
5                  c.    Rule 23(e)(2)(C) is satisfied because the $73 million in relief
6     provided for the Class is adequate considering the costs, risks, and delay of trial and
7     appeal. The three-tiered settlement claims process allowing for claimant choice is an
8     efficient, accessible, safe, and private way to optimize payments to Class Members. The
9     Equitable Relief Measures ensure meaningful institutional change will be implemented
10    at UCLA to avoid sexual misconduct in the patient care context. Defendants will pay
11    separately Class Counsel’s attorneys’ fees and litigation costs, as well as all Settlement
12    administration and claims processing costs and fees, without any reduction of Class
13    Member recoveries. There are no undisclosed side agreements.
14                 d.    Rule 23(e)(2)(D) is satisfied as the Settlement treats Class Members
15    equitably by presenting them with the same choices within the three-tiered structure.
16    The experienced three-person Panel, including the Special Master, OB/GYN, and
17    forensic psychiatrist, will evaluate claims and allocate awards to Tier 2 and Tier 3
18    Claimants.
19          4.     The Court certifies, for settlement purposes only, the following Class:
20
                   All female patients of Dr. James Heaps who were seen for
21                 treatment by Dr. Heaps (1) at UCLA Medical Center
22                 (currently known as Ronald Reagan UCLA Medical Center)
                   from January 1, 1986 to June 28, 2018, (2) at UCLA’s student
23                 health center (currently known as Arthur Ashe Student Health
                   and Wellness Center) from January 1, 1983 to June 30, 2010,
24
                   or (3) at Dr. Heaps’s medical offices at 100 UCLA Medical
25                 Plaza from February 1, 2014 to June 28, 2018.
26
27          5.     The Court concludes, for purposes of the Settlement only, that the
28    requirements of Federal Rules of Civil Procedure 23(a) and (b)(3) are satisfied for the

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1     Settlement Class. In support of this conclusion, the Court finds as follows:
2                   a.    The number of Settlement Class Members is too numerous for their
3     joinder to be practicable. The Settlement Class consists of approximately 5,500
4     individuals, whose identities are ascertainable through UCLA’s records or through self-
5     identification.
6                   b.    There are questions of law and fact common to the Settlement Class,
7     and these common questions predominate over individualized questions for settlement
8     purposes. The common questions include Heaps’s alleged pattern of misconduct toward
9     female patients at UCLA medical facilities, and UCLA’s failure to terminate or
10    otherwise discipline him.
11                  c.    Plaintiffs’ claims are typical of the claims of the Settlement Class in
12    that each of the claims arises from a common course of conduct on the part of each of
13    the Defendants in exposing Heaps’s female patients to alleged sexual misconduct.
14                  d.    Plaintiffs are adequate class representatives, whose interests in this
15    matter are aligned with those of the other Settlement Class Members. Additionally,
16    proposed Class Counsel—the law firms of Girard Sharp LLP, Gibbs Law Group LLP,
17    and Erickson Kramer Osborne LLP—are experienced in prosecuting class actions
18    involving similar claims and have committed the necessary resources to represent the
19    Settlement Class.
20                  e.    A class action is a superior method for the fair and efficient
21    resolution of this litigation.
22           6.    In making all the foregoing findings, the Court has exercised its discretion
23    in certifying a Settlement Class.
24           7.    The Court finds that notice was given in accordance with the Preliminary
25    Approval Order (Dkt. 33), and that the form and content of that Notice, and the
26    procedures for disseminating notice, satisfy the requirements of Rule 23(e) and due
27    process and constitute the best notice practicable under the circumstances. The Court
28    further finds that the notification requirements of the Class Action Fairness Act, 28

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1     U.S.C. § 1715, have been met.
2           8.    Adequate notice of the proceedings was given to Settlement Class
3     Members, with a full opportunity to participate in the fairness hearing or request
4     exclusion. Therefore, it is hereby determined that all Settlement Class Members are
5     bound by this Final Approval Order and Judgment.
6           9.    The Court GRANTS final approval of the Settlement and DIRECTS the
7     parties, Special Master, Panel, and Settlement Administrator to implement the
8     Settlement according to its terms and conditions.
9           10.   This litigation is dismissed with prejudice, and the Released Claims and
10    Releasing Defendants’ Claims are released as set forth in the Settlement.
11          11.   This Final Approval Order shall have no force or effect on the persons who
12    have validly excluded themselves from the Class. The persons identified in Exhibit A to
13    the Supplemental Declaration of Jennifer M. Keough (filed separately under seal at
14    Dkt.45-2) requested exclusion from the Settlement Class as of the Objection and Opt-
15    Out Deadline. These persons shall not share in the benefits of the Settlement, and this
16    Final Approval Order and Judgment does not affect their legal rights to pursue any
17    claims they may have against Defendants. All other members of the Settlement Class
18    are hereinafter barred and permanently enjoined from prosecuting any Released Claims
19    against Defendants in any court, administrative agency, arbitral forum, or other tribunal.
20          12.   Neither the Settlement, nor any act performed or document executed
21    pursuant to or in furtherance of the Settlement, is or may be deemed to be or may be
22    used as an admission of, or evidence of, (a) the validity of any Released Claim, (b) any
23    wrongdoing or liability of Defendant or any other Released Party, or (c) any fault or
24    omission of Defendant or any other Released Party in any proceeding in any court,
25    administrative agency, arbitral forum, or other tribunal.
26          13.   Neither Plaintiffs’ application for attorneys’ fees, reimbursement of
27    litigation expenses, and service awards, nor any order entered by this Court thereon,
28    shall in any way disturb or affect this Judgment, and all such matters shall be treated as

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1     separate from this Judgment. Without affecting the finality of this Judgment, the Court
2     reserves and continues jurisdiction with respect to Plaintiffs’ motion for attorneys’ fees,
3     reimbursement of litigation expenses, and service awards. Class Counsel’s request for
4     attorneys’ fees and reimbursement of expenses shall not exceed $8,760,000. All
5     attorneys’ fees and expense will be paid separately by Regents, in addition to and
6     without reduction of the Settlement Fund. Any service awards the Court approves will
7     be paid from the Settlement Fund.
8           14.   Plaintiffs’ motion for attorneys’ fees, reimbursement of litigation expenses,
9     and service awards will be posted on the Settlement website as soon as it is filed.
10    Settlement Class Members will have the opportunity to object to the motion.
11          15.   Without affecting the finality of this Judgment, the Court reserves and
12    continues jurisdiction with respect to the implementation and enforcement of the terms
13    of the Settlement, Claims Process, distribution of Claim Awards, and all other matters
14    related to the administration, consummation, and interpretation of the Settlement and/or
15    this Final Approval Order and Judgment, including any orders necessary to effectuate
16    the final approval of the Settlement and its implementation.
17          16.   No Settlement Class Member or any other person will have any claim
18    against Plaintiffs, Class Counsel, any person designated by Class Counsel, the Special
19    Master, the Panel, or the Settlement Administrator arising from or relating to the
20    Settlement or actions, determinations or distributions made substantially in accordance
21    with the Settlement or Orders of the Court.
22          17.   If any Party fails to fulfill its obligations under the Settlement, the Court
23    retains authority to vacate the provisions of this Judgment releasing, relinquishing,
24    discharging, and barring and enjoining the prosecution of the Released Claims against
25    the Released Parties and to reinstate the Released Claims.
26          18.   If the Settlement does not become effective, this Judgment shall be rendered
27    null and void to the extent provided by and in accordance with the Settlement and shall
28    be vacated and, in such event, all orders entered and releases delivered in connection

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1     herewith shall be null and void to the extent provided by and in accordance with the
2     Settlement.
3            19.    The Court appoints as Class Representatives: Plaintiffs A.B., C.D., E.F.,
4     G.H., I.J., K.L., and M.N.
5            20.    The Court appoints the law firms of Girard Sharp LLP, Gibbs Law Group
6     LLP, and Erickson Kramer Osborne LLP as Class Counsel. Class Counsel shall be
7     responsible for monitoring compliance with the Equitable Relief under the Settlement.
8     Class Counsel shall have no role or responsibility in regard to (i) advocating for
9     Settlement Class Members before the Special Master, or (ii) determining individual
10    Settlement Class Members’ claims or awards.
11           21.    The Court appoints Hon. Irma E. Gonzalez (Ret.) as Special Master to
12    perform the duties consented to by the Parties under the Settlement. This appointment is
13    fair in light of her experience evaluating claims of this nature and Regents’ agreement
14    to pay her separately and apart from the Settlement Fund.
15           22.    As the Settlement dictates, the Special Master shall perform the following
16    duties with all reasonable diligence:
17                      a. Lead the Panel in adjudicating and determining Claim Awards for
18                         Tier 2 and Tier 3 Claims;
19                      b. Retain and supervise, or consult, any psychologists, psychiatrists, or
20                         other experts, trained specialists, or administrative personnel to
21                         conduct interviews and evaluate Claim Forms;
22                      c. Permit, at her discretion, late-filed Claims during the period Claims
23                         are being evaluated; and
24                      d. Develop protocols in consultation with the Parties for interviews or
25                         other oral or written communications with Settlement Class members
26                         relating to Tier 2 and Tier 3 Claims.
27           23.    The Special Master’s determination of Tier 2 and Tier 3 Claim Awards
28    shall be final.

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